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               United States Court of Appeals
                               For the First Circuit
 No. 20-1680
                                      JOHN HARNOIS

                                     Plaintiff - Appellant

                                              v.

       UNIVERSITY OF MASSACHUSETTS AT DARTMOUTH; PEYTON R. HELM, in
   individual and official capacity; CYNTHIA CUMMINGS, in individual and official capacity;
  DEBORAH MAJEWSKI, in individual and official capacity; SCOTT WEBSTER, in individual
    and official capacity; DAVID GOMES, in individual and official capacity; JOHN BUCK, in
     individual and official capacity; EMIL FIORAVANTI, in individual and official capacity

                                   Defendants - Appellees

                 UNNAMED PROFESSOR, in individual and official capacity

                                          Defendant


                                        MANDATE

                                 Entered: December 2, 2020

        In accordance with the judgment of December 2, 2020, and pursuant to Federal Rule of
 Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                            By the Court:

                                            Maria R. Hamilton, Clerk


 cc:
 Denise Barton
 John Harnois
 Mark Alden Johnson
